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                         UNITED STATES DISTRICT COURT
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                        EASTERN DISTRICT OF CALIFORNIA
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12 BRIAN BREWER, et. al.,
                                            NO. CIV. S-08-1211 FCD DAD
13             Plaintiffs,
                                            ORDER AND ORDER TO SHOW CAUSE
14       v.                                 RE SANCTIONS
15 INDYMAC BANK, et al.,
16             Defendants.
17                               ----oo0oo----
18       1.    The hearing on Defendants’ Motion to Dismiss the First
19 Amended Complaint is continued to the court’s law and motion date
20 of January 30, 2009. Plaintiffs shall file and serve their
21 opposition brief or notice of non-opposition no later than
22 January 9, 2009.     The Defendants may file and serve a reply on or
23 before January 16, 2009.
24       2.    Plaintiffs’ counsel is ordered to show cause why he
25 should not be sanctioned in the amount of $150.00 for failing to
26 file an opposition or notice of non-opposition to defendants’
27 motion in compliance with Local Rule 78-230(c).
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        Case 2:08-cv-01211-FCD-DAD Document 28 Filed 11/03/08 Page 2 of 2


 1      3.    Plaintiffs’ counsel shall file his response to the
 2 order to show cause on or before January 9, 2009.
 3      4.    A hearing on the order to show cause will be set if one
 4 is deemed necessary.
 5      IT IS SO ORDERED.
 6 DATED: November 3, 2008
                                      _______________________________________
 7                                    FRANK C. DAMRELL, JR.
 8                                    UNITED STATES DISTRICT JUDGE

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